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FILED

UNITED STATES DISTRICT COURT DEE $§ 2009

FOR THE DISTRICT OF COLUMBIA

NANCY MAYER WHITTINGTON, CLERK

U.S. DISTRICT COURT

 

 

 

)
UNITED STATES OF AMERICA )
)
v. ) No aof- 39%
)
CREDIT SUISSE AG, )
) DEFERRED PROSECUTION
Defendant. ) AGREEMENT
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Defendant Credit Suisse AG (“Credit Suisse”), a financial institution registered
and organized under the laws of Switzerland, by and through its attorneys, King &
Spalding LLP, and the United States Department of Justice, Criminal Division (the
“United States”), hereby enter into this Deferred Prosecution Agreement (the
“A greement’’).

1. Charges: Credit Suisse agrees that it shall waive indictment and agrees to
the filing of a one-count Criminal Information in the United States District Court for the
District of Columbia, charging it with knowingly and willfully violating and attempting
to violate regulations issued under the International Emergency Economic Powers Act,
Title 50, United States Code, Section 1705, to wit, Title 31, Code of Federal Regulations,
Sections 560.203 and 560.204, that prohibit: (a) the exportation of a service to Iran from
the United States without authorization; and (b) any transaction within the United States

that evaded and avoided, or had the purpose of evading and avoiding such regulations.
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2. Acceptance of Responsibility: Credit Suisse accepts and acknowledges
responsibility for its conduct and that of its employees as set forth in the Factual
Statement attached hereto as Exhibit A and incorporated herein by reference (the
“Factual Statement”). If the United States, pursuant to Paragraph 10 of this Agreement,
initiates a prosecution that is deferred by this Agreement against Credit Suisse, Credit
Suisse agrees that it will neither contest the admissibility of the Factual Statement or any
other documents provided by Credit Suisse to the United States or the Swiss government
nor contradict in any such proceeding the facts contained within the Factual Statement.

3. Forfeiture Amount: As a result of Credit Suisse’s conduct, including the
conduct set forth in the Factual Statement, the parties agree that the United States could
institute a civil and/or criminal forfeiture action against certain funds held by Credit
Suisse and that such funds would be forfeitable pursuant to Title 18, United States Code,
Sections 981 and 982. Credit Suisse hereby acknowledges that at least $536,000,000 was
involved in transactions described in the Factual Statement, and that such conduct
violated Title 50, United States Code, Section 1705. In lieu of a criminal prosecution and
related forfeiture, Credit Suisse hereby agrees to pay to the United States the sum of
$268,000,000 (the “Forfeiture Amount”).' Credit Suisse hereby agrees that the funds
paid by Credit Suisse pursuant to this Agreement shall be considered substitute res for the
purpose of forfeiture to the United States pursuant to Title 18, United States Code,
Section 981, and Credit Suisse releases any and all claims it may have to such funds.

Credit Suisse shall pay the Forfeiture Amount within five business days from the entry of

 

' Credit Suisse has also agreed to pay a separate and additional $268,000,000 pursuant to a Deferred
Prosecution Agreement with the District Attorney of the County of New York (“DANY”) being entered
into contemporaneously, resulting in an overall total forfeiture amount of $536,000,000.
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this Agreement pursuant to payment instructions as directed by the United States in its
sole discretion.

4. Court is Not Bound: Credit Suisse and the United States understand that
the Agreement must be approved by the United States District Court for the District of
Columbia, in accordance with 18 U.S.C. § 3161(h)(2). If that Court declines to approve
this Agreement for any reason, the United States and Credit Suisse are released from any
obligation imposed upon them by this Agreement, this Agreement shall be null and void,
and the United States shall not premise any prosecution of Credit Suisse, its employees,
officers, or directors upon any admissions or acknowledgements contained herein.

5. Deferral of Prosecution: In consideration of Credit Suisse’s remedial
actions to date and its willingness to: (a) acknowledge responsibility for its actions; (b)
have voluntarily terminated the conduct set forth in the Factual Statement prior to the
commencement of the United States’s investigation; (c) continue its cooperation with the
United States as stated in Paragraphs 6 and 7; (d) demonstrate its future good conduct and
full compliance with Financial Action Task Force international Anti-Money Laundering
and Combating Financing of Terrorism best practices and the Wolfsberg Anti-Money
Laundering Principles for Correspondent Banking; and (e) settle any and all civil and
criminal claims currently held by the United States for any act within the scope of the
Factual Statement, the United States agrees as follows:

ie the United States shall recommend to the Court, pursuant to 18
U.S.C. § 3161(h)(2), that prosecution of Credit Suisse on the Information filed pursuant
to Paragraph 1 be deferred for a period of twenty-four months from the date of the filing

of the Information referred to in Paragraph 1. Credit Suisse shall consent to a motion, the
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contents to be agreed upon by the parties, to be filed by the United States with the Court
promptly upon execution of this Agreement, pursuant to 18 U.S.C. § 3161(h)(2), in which
the United States will present this Agreement to the Court and move for a continuance of
all further criminal proceedings, including trial, for a period of twenty-four months, for
speedy trial exclusion of all time covered by such a continuance, and for approval by the
Court of this deferred prosecution. Credit Suisse further agrees to waive and does hereby
expressly waive any and all rights to a speedy trial pursuant to the Sixth Amendment of
the United States Constitution, Title 18, United States Code, Section 3161, Federal Rule
of Criminal Procedure 48(b), and any applicable Local Rules of the United States District
Court for the District of Columbia for the period that this Agreement is in effect; and

il. the United States shall, if Credit Suisse is in full compliance with
all of its obligations under this Agreement, within thirty days of the expiration of the time
period set forth above in Paragraph 5(1), or less at the discretion of the United States, seek
dismissal with prejudice of the Information filed against Credit Suisse pursuant to
Paragraph 1 and this Agreement shall expire and be of no further force or effect.

6. Cooperation: Credit Suisse agrees that it shall:

(a) By June 30, 2010, conduct or repeat U.N., U.S., and E.U. sanctions
training, to include training of all employees (1) involved in the processing or
investigation of United States Dollar (“USD”) payments and all employees and officers
who directly or indirectly are supervising these employees; (2) involved in execution of
USD denominated securities trading orders and all employees and officers who directly

or indirectly are supervising these employees; and (3) all U.S. employees. After such
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training is complete, Credit Suisse’s Chief Executive Officer must certify that such
training has been completed;

(b) By June 30, 2010, certify that Credit Suisse has a written policy to require
the use of the MT 202COV bank-to-bank payment message where appropriate and is
continuing to employ a bank-wide systems architecture that requires the use of the MT
202COV for all cover payments;

(c) Maintain the electronic database of Society for Worldwide Interbank
Financial Telecommunications (“SWIFT”) Message Transfer (“MT”) payment messages
and other internal Credit Suisse documents relating to USD payments processed during
the period from 2002 through April 30, 2007 in electronic format for a period of five
years from the date of this Agreement; and

(d) Abide by any and all orders and regulations of the Board of Governors of
the Federal Reserve System regarding remedial measures or other required actions related
to this matter.

7. Credit Suisse agrees that for the term of this Agreement, in accordance
with applicable laws, it shall supply and/or make available upon request by the United
States any additional relevant documents, electronic data, or other objects in Credit
Suisse’s possession, custody, or control as of the date of this Agreement relating to any
transaction within the scope of or relating to the Factual Statement. Nothing in this
Agreement shall be construed to require Credit Suisse to produce any documents, records
or tangible evidence that are protected by the attorney-client privilege or work product
doctrine or Swiss or other applicable confidentiality, criminal, or data protection laws.

To the extent that a United States request requires transmittal through formal government
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channels, Credit Suisse agrees to use its best efforts to facilitate such a transfer and agrees
not to oppose any request made in accordance with applicable law either publicly or
privately.

8. Government Commitments: In return for the full and truthful
cooperation of Credit Suisse and compliance with the terms and conditions of this
Agreement, the United States agrees that it shall not seek to prosecute Credit Suisse, its
corporate parents, subsidiaries, affiliates, successors, predecessors, and assigns for any
act within the scope of the Factual Statement from 1995 through the date of this
Agreement unless: (a) other than the transactions that have already been disclosed and
documented to the United States, Credit Suisse knowingly and willfully transmitted or
approved the transmission of USD-denominated funds that went to or came from persons
or entities designated at the time of the transaction by the Office of Foreign Assets
Control as a Specially Designated Terrorist, a Specially Designated Global Terrorist, a
Foreign Terrorist Organization, or a proliferator of Weapons of Mass Destruction (an
“Undisclosed Special SDN Transaction”); or (b) in the sole discretion of the United
States, there is a willful and material breach of this Agreement. In the event of a breach
resulting in a prosecution of Credit Suisse or a prosecution related to an Undisclosed
Special SDN transaction, the United States may use any information provided by or on
behalf of Credit Suisse to the United States or any investigative agency, whether prior to
or subsequent to this Agreement, and/or any leads derived from such information,
including the attached Factual Statement.

9. Waiver of Rights: Credit Suisse hereby further expressly agrees that

within six months of a wilful and material breach of this Agreement by Credit Suisse, any
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violations of federal law that were not time-barred by the applicable statute of limitations
as of the date of this Agreement, including any claims covered by the tolling agreement
signed by the parties, and that: (a) relate to the Factual Statement; or (b) were hereinafter
discovered by the United States, may in the sole discretion of the United States be
charged against Credit Suisse, notwithstanding the provisions or expiration of any
applicable statute of limitations. Credit Suisse also expressly waives any challenges to
the venue or jurisdiction of the United States District Court for the District of Columbia.
10. Breach of the Agreement: If the United States determines that Credit
Suisse has committed a willful and material breach of any provision of this Agreement,
the United States shall provide wntten notice to Credit Suisse’s counsel of the alleged
breach and provide Credit Suisse with a two-week period from the date of receipt of said
notice, or longer at the discretion of the United States, in which to make a presentation to
the United States to demonstrate that no breach has occurred or, to the extent applicable,
that the breach is not willful or material, or has been cured. The parties hereto expressly
understand and agree that if Credit Suisse fails to make the above-noted presentation
within such time period, it shall be presumed that Credit Suisse is in willful and material
breach of this Agreement. The parties further understand and agree that the United
States’s exercise of discretion under this paragraph is not subject to review in any court
or tribunal outside the Criminal Division of the Department of Justice. In the event of a
breach of this Agreement that results in a prosecution, such prosecution may be premised
upon any information provided by or on behalf of Credit Suisse to the United States or
any investigative agencies, whether prior to or subsequent to this Agreement, and/or any

leads derived from such information, including the attached Factual Statement, unless
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otherwise agreed to by the United States and Credit Suisse in writing at the time the
information was provided to the United States.

11. Requirement to Obey the Law: If the United States determines during
the term of this Agreement that Credit Suisse has committed any federal crime after the
date of the signing of this Agreement, Credit Suisse shall, in the sole discretion of the
United States, thereafter be subject to prosecution for any federal crimes of which the
United States has knowledge, including but not limited to the conduct described in the
Factual Statement. The discovery by the United States of any purely historical criminal
conduct that did not take place during the term of the Agreement will not constitute a
breach of this provision.

12. Parties Bound by the Agreement: This Agreement and all provisions set
forth herein bind Credit Suisse and any of its corporate parents, subsidiaries, affiliates,
successors, predecessors, and assigns. It is further understood that this Agreement and all
provisions set forth herein are binding on the United States, but specifically do not bind
any federal agencies, or any state or local authorities, although the United States will
bring the cooperation of Credit Suisse and its compliance with its other obligations under
this Agreement to the attention of federal, state, or local prosecuting offices or regulatory
agencies, if requested by Credit Suisse or its attorneys.

13. Public Statements: Credit Suisse expressly agrees that it shall not,
through its attorneys, board of directors, agents, officers, employees, consultants,
contractors, subcontractors, or representatives, including any person or entity controlled
by any of them, make any public statement contradicting, excusing, or justifying any

statement of fact contained in the Factual Statement. Any such public statement by
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Credit Suisse, its attorneys, board of directors, agents, officers, employees, consultants,
contractors, subcontractors, or representatives, including any person or entity controlled
by any of them, shall constitute a willful and material breach of this Agreement as
governed by Paragraph 10 of this Agreement, and Credit Suisse would thereafter be
subject to prosecution pursuant to the terms of this Agreement. The decision of whether
any public statement by any such person contradicting, excusing, or justifying a fact
contained in the Factual Statement will be imputed to Credit Suisse for the purpose of
determining whether Credit Suisse has breached this Agreement shall be in the sole and
reasonable discretion of the United States. Upon the United States’s notification to
Credit Suisse of a public statement by any such person that in whole or in part
contradicts, excuses, or justifies a statement of fact contained in the Factual Statement,
Credit Suisse may avoid breach of this Agreement by publicly repudiating such statement
within seventy-two hours after notification by the United States. This paragraph is not
intended to apply to any statement made by any individual in the course of any criminal,
regulatory, or civil case initiated by a governmental or private party against such
individual regarding that individual’s personal conduct.

14. Sales or Mergers: Credit Suisse agrees that if it sells, merges, or transfers
all or substantially all of its business operations or assets as they exist as of the date of
this Agreement to a single purchaser or group of affiliated purchasers during the term of
this Agreement, it shall include in any contract for sale, merger, or transfer a provision
binding the purchaser/successor/transferee to the obligations described in this Agreement.

Any such provision in a contract of sale, merger, or transfer shall not expand or impose
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additional obligations on Credit Suisse as they relate to Paragraphs 6 and 7 of this
Agreement.

15. Conduct Covered by Agreement: It is further understood that this
Agreement does not relate to or cover any conduct by Credit Suisse other than for any act
within the scope of the Factual Statement and this Agreement.

16. Public Filing: Credit Suisse and the United States agree that, upon
acceptance by the United States District Court for the District of Columbia, this
Agreement (and its attachments) and an Order deferring prosecution shall be publicly
filed in the United States District Court for the District of Columbia.

17. Complete Agreement: This Agreement sets forth all the terms of the
Agreement between Credit Suisse and the United States. There are no promises,
agreements, or conditions that have been entered into other than those expressly set forth
in this Agreement, and none shall be entered into and/or be binding upon Credit Suisse or
the United States unless signed by the United States, Credit Suisse’s attorneys, and a duly
authorized representative of Credit Suisse. This Agreement supersedes any prior
promises, agreements, or conditions between Credit Suisse and the United States. Credit
Suisse agrees that it has the full legal right, power, and authority to enter into and perform
all of its obligations under this Agreement and it agrees to abide by all terms and

obligations of this Agreement as described herein.

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Acknowledgment

We, Romco Cerutti and Tobias Guldimann, the duly authorized representatives of Credit
Suisse AG, hereby expressly acknowledge the following: (1) that we have read this entire
Agreement; (2) that we have had an opportunity to discuss this Agreement fully and
freely with Credit Suisse AG’s attorncys; (3) that Credit Suisse AG fully and completely
understands each and every one of its terms; (4) that Credit Suisse AG is fully satisfied
with the advice and representation provided to it by its attorncys; and (5) that Credit
Suisse AG has signed this Agreement voluntarily.

 

 

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DATE Tobias Guldimann

Chief Risk Officer

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Counsel for Credit Suisse AG

We, Christopher A. Wray and Andrew C. Hruska, the attorneys for Credit Suisse
AG, hereby expressly acknowledge the following: (1) that we have discussed this
Agreement with our client; (2) that we have fully explained cach one of its terms to our
client; (3) that we have fully answered each and every question put to us by our client
regarding the Agreement; and (4) that we believe our client completely understands all of

the Agreement’s terms. ZL an
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DATE Christopher A. Wray
King & Spalding LLP ,~

 

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DATE Andrew C. Hruska
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On Behalf of the Government

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DATE

RICHARD WEBER, Chief
Asset Forfeiture and Money Laundering Section

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KEITH LIDDLE
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Asset Forfeiture and Money Laundering Section
U.S. Department of Justice, Criminal Division

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